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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

UNITED STATES OF AMERICA                 )
                                         )
       v.                                )            CR217-034
                                         )
OSCAR NEGRETE CORTES                     )

               AMENDED SECOND NOTICE OF FORFEITURE

TO:     Alex L. Zipperer, Esq.
        c/o Alfredo Vega Hernandez
        Zipperer, Lorberbaum & Beauvais
        P.O. Box 9147
        Savannah, GA 31412 -9147

       1.    NOTICE OF FORFEITURE: Pursuant to Rule 32.2(b)(6) of the
Federal Rules of Criminal Procedure, notice is hereby given that, on April 24, 2018,
in the above-captioned case, the Honorable Lisa Godbey Wood, United States
District Judge for the Southern District of Georgia, entered the enclosed Amended
Order of Forfeiture, condemning and forfeiting to the United States of America the
following property:

       a. $35,790.00 in U.S. Currency, and

       b. one 2008 Toyota Tundra bearing VIN number 5TFEV54158X052704

(collectively, the “Subject Property”), according to law.

       The Consent Order of Forfeiture having been entered, the Government hereby
gives notice of its intention to dispose of the Subject Property as provided by law.

       2.     FILING OF A PETITION CONTESTING FORFEITURE: Pursuant
to 21 U.S.C. § 853(n)(2), in order to avoid forfeiture of the Subject Property, any
person, other than Oscar Negrete Cortes, who asserts a legal interest in the Subject
Property must petition the United States District Court for the Southern District of
Georgia for a hearing to adjudicate the validity of his/her alleged interest in the
Subject Property within thirty (30) days of the final publication of notice on
www.forfeiture.gov, an official government internet website, or his/her actual receipt
of this written notice, whichever is earlier.
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       3.      CONTENTS OF A PETITION CONTESTING FORFEITURE:
Pursuant to 21 U.S.C. § 853(n)(3), a petition for a hearing must (A) be signed by the
petitioner under penalty of perjury; (B) identify the particular property or properties
in which the petitioner claims a legal right, title or interest; (C) set forth the nature
and extent of the petitioner’s right, title, or interest in the property; (D) set forth the
time and circumstances of the petitioner’s acquisition of the right, title, or interest in
the property; (E) set forth any additional facts supporting the petitioner’s claim; and
(F) set forth the relief sought.

       4.     HEARING ON THE PETITION: To the extent practicable and
consistent with the interests of justice, a hearing on a petition will be held within
thirty (30) days of its filing. Any such hearing shall be held before the Court alone,
without a jury. The petitioner will bear the burden of proof.

       5.     FILING WITH COURT AND SERVICE ON UNITED STATES: The
verified petition must be filed with the Clerk of the United States District Court in
Case CR217-034. The Office of the Clerk’s mailing address is:

             Clerk, United States District Court
             Southern District of Georgia
             P.O. Box 1636
             Brunswick, GA 31521-1636

The Office of the Clerk’s physical address is:

             United States Courthouse
             801 Gloucester Street
             Brunswick, GA 31520

Additionally, all petitioners must mail a copy of their petitions to counsel for the
United States at the following mailing address:

             Xavier A. Cunningham
             Assistant United States Attorney
             P.O. Box 8970
             Savannah, GA 31412-8970




                           (continued on next page)




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If you fail to follow the requirements set forth above, any right, title and/or
interest you may have in the Subject Property shall be lost and forfeited to
the United States. You may wish to seek legal advice to protect your
interests.

      This 24th day of October, 2018.

                                        BOBBY L. CHRISTINE
                                        UNITED STATES ATTORNEY

                                        /s/ Xavier A. Cunningham
                                        ________________________________
                                        Xavier A. Cunningham
                                        Assistant United States Attorney
                                        New York Bar Number: 5269477

P.O. Box 8970
Savannah, GA 31412
(912) 652-4422




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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the Notice of Electronic Filing that was generated as a result of

electronic filing in this Court.

       This is to also certify that I have on this day served the foregoing Amended

Second Notice of Forfeiture via Certified Mail, Return Receipt Requested on the

following person at the following address:

                                 Alex L. Zipperer, Esq.
                              c/o Alfredo Vega Hernandez
                           Zipperer, Lorberbaum & Beauvais
                                     P.O. Box 9147
                              Savannah, GA 31412-9147

       This is to further certify that I have on this day served the foregoing

Amended Second Notice of Forfeiture via First-Class Mail on the following person at

the following address:
                                  Alex L. Zipperer, Esq.
                              c/o Alfredo Vega Hernandez
                           Zipperer, Lorberbaum & Beauvais
                                      P.O. Box 9147
                               Savannah, GA 31412-9147

     This 24th day of October, 2018.

                                               /s/ Xavier A. Cunningham
                                               ________________________________
                                               Xavier A. Cunningham
                                               Assistant United States Attorney
                                               New York Bar Number: 5269477

P.O. Box 8970
Savannah, GA 31412
(912) 652-4422
